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United States District Court
Central District of California

 

 

UNITED STATES OF AMERICA vs. Docket No. CR16-00129-SVW
Defendant David John Gastelum Social Security No. _9_ __2_ _9 _5
akas: (Last 4 digits)

 

 

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MONTH DAY YEAR

 

 

In the presence of the attorney for the govemment, the defendant appeared in person on this date. 04 10 2017

COUNSEL | Gabriel L. Prado, Appointed

(Name of Counsel)

PLEA | GUlLTY, and the court being satisfied that there is a factual basis for the plea. |:| NOLO |:| N()T
CONTENDERE GUILTY

 

FINDING l There being a finding/verdict of GUlLTY, defendant has been convicted as charged of the offense(s) of:

Possession of child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B) as charged in Count 3 of the Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
COMM that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
ORDER the custody of the Bureau of Prisons to be imprisoned for a term of:

 

PROBATION for a term of 5 years.

The defendant shall comply with the rules and regulations of the United States Probation Offlce and
General Order 05-02.

During the period of community supervision, the defendant shall pay the special assessment in
accordance with this judgment's orders pertaining to such payment

The defendant shall cooperate in the collection of a DNA sample from the defendant

The defendant shall possess and use only those computers and computer-related devices, screen user
names, passwords, email accounts, and internet service providers (ISPS) that have been disclosed to the
Probation Officer upon commencement of supervision. Any changes or additions are to be disclosed to
the Probation Offlcer prior to the first use. Computers and computer-related devices include personal
computers, personal data assistants (PDAs), internet appliances, electronic games, cellular telephones,
and digital storage media, as well as their peripheral equipment, that can access, or can be modified to
access, the internet, electronic bulletin boards, and other computers.

All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
subject to search and seizure. This shall not apply to items used at the employment's site, which are
maintained and monitored by the employer.

The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per
month per device connected to the internet.

 

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The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
treatment program, as approved and directed by the Probation Officer. The defendant shall abide by all
rules, requirements, and conditions of such program. The Probation Officer shall disclose the
presentence report or any previous mental health evaluations or reports to the treatment provider.

As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the
defendant's psychological/psychiatric disorder(s) to the aftercare contractor during the period of
community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall provide payment and proof
of payment as directed by the Probation Officer.

The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction
where he resides, where he is an employee, he and where he is a student, to the extent the registration
procedures have been established in each jurisdiction. When registering for the first time, the defendant
shall also register in the jurisdiction in which the conviction occurred if different from

his jurisdiction of residence. The defendant shall provide proof of registration to the Probation Officer.

The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
drawings, videos, or video games depicting and/or describing child pornography, as defined at 18 U.S.C.
§ 2256(8), or sexually explicit conduct, as defined at 18 U.S.C. §2256(2). This condition

does not prohibit the defendant from possessing materials solely because they are necessary to, and used
for, a collateral attack, nor does it prohibit him from possessing materials prepared and used for the
purposes of his Court-mandated sex offender treatment, when the defendant's treatment provider or the
probation officer has approved of his possession of the materials in advance.

The defendant shall not own, use or have access to the services of any commercial mail-receiving
agency, nor shall he open or maintain a post office box, without the prior written approval of the
Probation Officer.

The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming
pools, playgrounds, youth centers, video arcade facilities, or other places primarily used by persons
under the age of 18.

The defendant shall not associate or have verbal, written, telephonic, or electronic communication with
any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor;
and (b) on the condition that the defendant notify said parent or legal guardian of him

conviction in the instant offense/prior offense. This provision does not encompass persons under the age
of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to
obtain ordinary and usual commercial services.

The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose
principal product is the production or selling of materials depicting or describing "sexually explicit
conduct," as defined at 18 U.S.C. § 2256(2).

The defendant's employment shall be approved by the Probation Officer, and any change in employment
must be pre-approved by the Probation Officer. The defendant shall submit the name and address of the
proposed employer to the Probation Officer at least ten days prior to any scheduled change.

 

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The defendant shall submit his person, and any property, house, residence, vehicle, papers, computer,
other electronic communication or data storage devices or media, and effects to search at any time, with
or without warrant, by any law enforcement or Probation Officer with reasonable suspicion

concerning a violation of a condition of supervised release or unlawful conduct by the defendant, and by
any Probation Officer in the lawful discharge of the officer's supervision function.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

Pursuant to Section 5El .Z(e), all fines are waived, including costs of imprisonment and supervision
The Court finds the defendant does not have the ability to pay.

The drug testing condition mandated by statute is suspended based on the Court‘s determination that the
defendant poses a low risk of future substance abuse.

ln addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

  

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lt is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified ofticer.

Date

Clerk, U.S. District Court

Apri| 13, 2017 By /s/ Gabriela Garcia
Filed Date Deputy Clerk

 

 

 

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).
STANDARD CONDITIONS OF PROBATION AND SUPERVlSED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment

 

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David John Gastelum

Docket No.:

 

The defendant shall not commit another Federal, state or local
crlme; »

the defendant shall not leave the judicial district without the written
permission of the court or probation officer;

the defendant shall report to the probation officer as directed by the
court or probation officer and shall submit a truthful and complete
written report within the first five days of each month;

the defendant shall answer truthfully all inquiries by the probation
officer and follow the instructions of the probation officer;

the defendant shall support his or her dependents and meet other
family responsibilities;

the defendant shall work regularly at a lawful occupation unless
excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least lO days prior
to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall
not purchase, possess, use, distribute, or administer any narcotic
or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances
are illegally sold, used, distributed or administered;

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the defendant shall not associate with any persons engaged in
criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the
probation officer;

the defendant shall permit a probation officer to visit him or her at
any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view by the probation officer;

the defendant shall notify the probation officer within 72 hours of
being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an
informer or a special agent of a law enforcement agency without
the permission of the court;

as directed by the probation officer, the defendant shall notify third
parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics, and shall
permit the probation officer to make such notifications and to
conform the defendant’s compliance with such notification
requirement;

the defendant shall, upon release from any period of custody, report
to the probation officer within 72 hours;

and, for felony cases only: not possess a firearrn, destructive device,
or any other dangerous weapon.

 

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JUDGMENT & PROBATION/COMM|TMENT ORDER

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|___\ The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).
STATUTORY PROVlSlONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15'h) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
not applicable for offenses completed prior to April 24, 1996.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attomey’s Office. 18 U.S.C. §3613.

The defendant shall notify the United States Attomey within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

The defendant shall notify the Court through the Probation Office, and notify the United States Attomey of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

Payments shall be applied in the following order:

l. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
States is paid):
Non-federal victims (individual and corporate),
Providers of compensation to non-federal victims,
The United States as victim;
3. Fine;
4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
5. Other penalties and costs.

SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (l) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. ln addition, the defendant shall not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account, All of defendant’s income, “monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment

 

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RETURN

l have executed the within Judgment and Commitment as follows:
Defendant delivered on to

 

 

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on
Defendant delivered on to

 

 

at
the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

 

 

 

United States Marshal
By
Date Deputy Marshal
CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, l understand that the court may (l) revoke supervision, (2) extend the term of

supervision, and/or (3) modify the conditions of supervision

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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